
The Director of the Office of Lawyers Professional Responsibility has filed a petition for disciplinary action alleging that respondent Joshua Reace Williams has committed professional misconduct warranting public discipline-namely, intentionally making physical contact with opposing counsel during a deposition which ended the deposition and delayed the litigation. See Minn. R. Prof. Conduct 4.4(a), 8.4(d).
Respondent and the Director have entered into a stipulation for discipline. In it, respondent waives his procedural rights under Rule 14, Rules on Lawyers Professional Responsibility (RLPR), and unconditionally admits the allegations of the petition. The parties jointly recommend that the appropriate discipline is a public reprimand.
This court has independently reviewed the file and approves the jointly recommended disposition.
Based upon all the files, records, and proceedings herein,
IT IS HEREBY ORDERED THAT:
1. Respondent Joshua Reace Williams is publicly reprimanded.
2. Respondent shall pay $900 in costs pursuant to Rule 24(a), RLPR.
BY THE COURT:
/s/ David L. Lillehaug
David L. Lillehaug
Associate Justice
